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                              UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW JERSEY

    ________________________________________________________________________

     ROBERT MCKEON,
                                                         Civil Action No. 3:19-cv-08536-MAS-ZNQ
                                                     :
                       Plaintiff,
                                                         Filed Electronically via ECF
                                                     :
     v.
                                                                                                  R
                                                     :
     CITY OF ASBURY PARK, MAYOR
     JOHN MOOR, AND MICHAEL                              PLAINTIFF’S BRIEF IN SUPPORT
                                                     :
     CAPABIANCO,                                         OF PLAINTIFF’S CROSS-MOTION
                                                         TO ENFORCE A SETTLEMENT
                                                     :
                       Defendants.                       AGREEMENT




                                    INTRODUCTORY STATEMENT

           Plaintiff is filing this Cross-Motion in order to enforce the settlement agreement

    that was reached by the parties at an August 28, 2019 settlement conference held by

    Magistrate Judge Quraishi, at which conference the terms of the settlement were reduced

    to a Term Sheet. A copy of that Term Sheet is attached as Exhibit A to the Certification

    of Patricia A. Barasch filed in Support of Plaintiff’s Cross-Motion (hereinafter “Barasch

    Certification”).

           While following the settlement conference, in attempting to incorporate the

    provisions of the Term Sheet into a mutually agreeable final Settlement Agreement and

    Release, counsel for the parties have been able to substantially reduce the issues in

    dispute, several differences remain as to the provisions to be included in any such
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    Agreement. In this regard, as Plaintiff has argued in his Brief in Response to Defendants’

    Motion to Enforce Settlement Agreement, Defendants have submitted a proposed

    Settlement Agreement and Release that fails in several respects to accurately incorporate

    the agreement reached by the parties as set out in the Term Sheet, particularly given that

    Defendants have added terms nowhere mentioned in that Term Sheet and never agreed on

    at the August 28, 2019 settlement conference. It is for this reason that Plaintiff is filing

    the present Cross-Motion and submitting to the Court a proposed final Settlement

    Agreement and Release that appropriately incorporates the agreement previously reached

    by the parties at the settlement conference. Plaintiff has attached his proposed final

    “Settlement Agreement and Mutual Release” as Exhibit B to the Barasch Certification

    being submitted along with this Brief. In preparing that Agreement, Plaintiff used as the

    template the version of the Settlement Agreement and Release submitted by Defendants

    as Exhibit H to the Certification of Theresa Lentini, Esq. In order to make clear to the

    Court the places in Exhibit B (Plaintiff’s proposed Settlement Agreement and Mutual

    Release) where Plaintiff has made changes to the version submitted by Defendants,

    Plaintiff is submitting as Exhibit C to the Barasch Certification a “marked-up” copy of

    the Defendants’ proposed Agreement in which Plaintiff’s added language is highlighted

    in yellow and the deletions are noted by using a “strike-through” font.

                                      LEGAL ARGUMENT

           Plaintiff will review below the deletions and additions made to Exhibit H to the

    Lentini Certification that are now reflected in the Settlement Agreement and Mutual

    Release being submitted by Plaintiff to the Court. See Barasch Certification at Exhibits




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    B (a “clean copy” of Plaintiff’s proposed Agreement) and Exhibit C (a “marked-up” copy

    of that proposed Agreement).

    1.     The Language Regarding the Filing of Future OPRA Requests by Plaintiff:

           On this issue, the Term Sheet signed off by the parties on August 28, 2019, see

    Barasch Certification at Exhibit A, states as follows: “No additional OPRA requests on

    issues related to civil litigation by McKeon; [and the] withdrawal [by McKeon] of

    pending OPRA requests related to civil litigation.” In order to be consistent with this

    provision of the Term Sheet, Plaintiff has retained from the version proposed by

    Defendants (Exhibit H of the Lentini Certification) only the following: “Plaintiff. . . (d)

    agrees to refrain from filing any future OPRA or common law requests for information

    that relates in any way to the Claims asserted in the Civil Action.” See Exhibit B to the

    Barasch Certification at p. 3. The additional restrictions that Defendants had included in

    their proposed version of the Agreement have been stricken. See Barasch Certification at

    Exhibit C; see also Plaintiff’s Brief in Response to Defendants’ Motion to Enforce

    Settlement Agreement at pp. 2 to 3.

    2.     The Language of the “Non-Disparagement” Paragraph in the Settlement
           Agreement:

           On this issue, as set forth in the Term Sheet signed off by the parties on August

    28, 2019, it was agreed as follows: “Mutual non-disparagement clause & indemnification

    of any claims against McKeon within the scope of his employment.” See Exhibit A to

    the Barasch Certification, the Term Sheet agreed to on August 28, 2019. As set forth in

    Plaintiff’s Brief in Response to Defendants’ Motion to Enforce Settlement Agreement,

    Plaintiff takes issue with the language in Defendants’ proposed paragraph entitled, “Non-

    Disparagement,” set out paragraph 9 of that Agreement, see Exhibit H of Lentini

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    Certification, because it fails to reflect the parties’ prior agreement that non-

    disparagement be “mutual,” requiring instead only that Defendants be “advised” not to

    make disparaging or false allegations regarding McKeon.

             So that the “Non-Disparagement Clause” of the Agreement truly be “mutual,”

    Plaintiff proposes that this section of the Agreement read as follows:

              9.     Non-Disparagement. McKeon covenants and agrees to make no
             disparaging statements or false allegations intended to harm the reputation
             of the City or any employee or elected official thereof. The City
             Administrator, the City’s Council Members, Defendant Moor and
             Defendant Capabianco covenant and agree to make no disparaging
             statements or false allegations intended to harm the reputation of McKeon.

    See Exhibit B to Barasch Certification at p. 6.

    3.       The Settlement Agreement And Release Needs To Include Defendants Moor And
             Capabianco As Parties And Signatories To The Agreement.

             Even though Mayor John Moor and Michael Capabianco were named as

    individual defendants in the Complaint1 giving rise to the present litigation, Defendants

    have not included them as “parties” bound by the Agreement and not required that each

    of them be signatories to the Agreement. As discussed in Plaintiff’s Brief in Response to

    Defendants’ Motion to Enforce Settlement Agreement, see pp. 5 to 6, there is a

    significant reason why Defendants’ omission is an important one: As a result of the

    Complaint filed in this matter2 asserting in its Count I a violation by all Defendants of

    New Jersey’s Conscientious Employee Protection Act (CEPA), N.J.S.A. 34:19-1, both

    Defendant Moor and Defendant Capabianco faced individual liability given that, under


    1
      Thus, in Defendants’ proposed Settlement Agreement and Release, see Exhibit H to Lentini Certification,
    the introductory paragraph appearing at the top of the first page, while naming the parties to the Agreement
    omits both Moor and Capabianco as parties. Likewise, at the end of Defendants’ proposed Agreement,
    there is no requirement that Moor and Capabianco sign as being bound by the Agreement.
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     A copy of the Complaint was attached as Exhibit A to the Certification of Patricia A. Barasch filed in
    Response to Defendants’ Motion to Enforce Settlement Agreement.

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    the provisions of that statute, individual managers and supervisors fall within the

    definition of “employers.” See Plaintiff’s Brief in Response to Defendants’ Motion to

    Enforce Settlement Agreement at pp. 5 to 6. Given that Defendants Moor and

    Capabianco are named defendants in the present litigation, and given that they were sued

    in their individual capacities as “employers” under CEPA, the Settlement Agreement here

    needs to include them as “parties” to the Agreement and require that they also be

    signatories to it. Accordingly, in Plaintiff’s proposed Settlement Agreement and Mutual

    Release, both Moor and Capabianco are included as “parties” to the Agreement, see p.1

    of Exhibit B to Barasch Certification, and lines for their signatures have been added on

    the last page of the Agreement. See p. 8 of Exhibit B.

    4.     Plaintiff Is Removing From The Settlement Agreement Defendants’ Proposed
           Indemnification” Provision.

           As discussed in Plaintiff’s Brief in Response to Defendants’ Motion to Enforce

    Settlement Agreement, see p. 6, Defendants have included in their proposed Settlement

    Agreement and Release, see Exhibit H to Lentini Certification at pp. 6-7 at ¶ 10, an

    “Indemnification” provision that was never discussed nor agreed to by the parties at the

    August 28th settlement conference. Accordingly, there is no mention of such a provision

    in the Term Sheet signed by the parties on that date. See Exhibit A to the Lentini

    Certification. Plaintiff has now deleted Defendants’ proposed “Indemnification”

    paragraph from his Settlement Agreement and Mutual Release.

    5.     Plaintiff Has Added A Paragraph That Makes The “Release” Provisions In The
           Agreement Mutual.

           Although the Term Sheet is silent as to the mutuality of the releases to be

    provided by the parties (and references only that Plaintiff shall release his claims against



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    Defendants), Plaintiff submits that it is standard—and understood by the parties

    whenever a final settlement agreement and release is entered into—that any release will

    be mutual. Such mutuality is needed in order that the parties can put all their disputes

    behind them without the fear of future litigation. Accordingly, Plaintiff has added the

    following paragraph to his proposed Settlement Agreement and Mutual Release:

           The Releasees likewise hereby fully and forever release, remit, acquit,
           remise and discharge McKeon from any and all liabilities, claims, causes
           of action, complaints, charges, obligations, damages, injuries, attorneys
           fees, costs, losses and other legal responsibilities of any kind whatsoever
           which Releasees have or may have had against McKeon arising out of the
           City’s employment of Releasor, including all of those claims set forth in
           the Notice of Disciplinary Action filed by the City against McKeon, from
           the beginning of time through the date of this Agreement.

    See Exhibit B to Barasch Certification at p. 4.

           Likewise and finally, although the Term Sheet is silent as to whether the

    Agreement would inure to the benefit of the successors to any of the parties to this

    Agreement, given Defendants’ inclusion of successor and assigns language in the

    Release and Discharge Provision contained in Section 1 benefitting the

    Defendants in this case, Plaintiff has included comparable language in the

    introductory language of the Settlement Agreement making clear that the

    Agreement will inure to the benefit of Plaintiff’s heirs, executors, administrators,

    successors and assigns should he die before all of the benefits provided for in the

    Agreement are paid out. This is especially appropriate, and standard, given that

    Defendants have also included language in the Release and Discharge Provision

    contained in Section 1 requiring the Release to be made not only by McKeon for

    himself, but also “on behalf of his successors, heirs, beneficiaries, agents, estates

    and assigns.”

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                                          CONCLUSION

           In accordance with the above, Plaintiff asks this Court to enforce the proposed

    Settlement Agreement and Mutual Release as it appears in Exhibit B to the Barasch

    Certification and to require all parties to become signatories to it.

                                                   Respectfully submitted,

                                                   SCHALL & BARASCH, LLC

                                                   By: /s/ Patricia A. Barasch

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                                                   Attorneys for Plaintiff Robert McKeon

    Dated: May 7, 2020




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